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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

 MICHAEL FRIDMAN,
 individually and on behalf of all
 others similarly situated,                                      CLASS ACTION

         Plaintiff,                                              JURY TRIAL DEMANDED

 v.

 THE COLLECTION LLC,
 a Florida limited liability company,

       Defendant.
 ___________________________________/

                                      CLASS ACTION COMPLAINT

         Plaintiff Michael Fridman brings this class action against Defendant The Collection LLC,

 and alleges as follows upon personal knowledge as to himself and his own acts and experiences,

 and, as to all other matters, upon information and belief, including investigation conducted by his

 counsel.

                                        NATURE OF THE ACTION

         1.           This is a putative class action under the Telephone Consumer Protection Act, 47

 U.S.C. § 227 et seq., (“TCPA”), arising from The Collection’s knowing and willful violations of the

 TCPA.

         2.           The Collection is one of the nation’s pre-eminent retailers of luxury vehicles,

 including Jaguar, Porsche, Ferrari, Maserati, Audi, Aston Martin, McLaren, or Alfa Romeo branded

 vehicles, located in Coral Gables.

         3.           To boost its profits, The Collection engages in unsolicited telemarketing, with no

 regard for consumers’ privacy rights.

         4.           This case arises from the transmission of telemarketing text messages to Plaintiff’s

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 and other consumers’ cellular telephones promoting vehicles sold by The Collection.

         5.           Through this action, Plaintiff seeks injunctive relief to halt The Collection’s illegal

 conduct which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the

 daily lives of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and

 members of the Class, and any other available legal or equitable remedies.

                                    JURISDICTION AND VENUE

         6.           Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a

 federal statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a

 national class, which will result in at least one Class member belonging to a different state than The

 Collection. Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each

 call in violation of the TCPA, which, when aggregated among a proposed class numbering in the tens

 of thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court

 jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore, both the elements of federal

 question jurisdiction and CAFA diversity jurisdiction are present.

         7.           Venue is proper in the United States District Court for the Southern District of

 Florida pursuant to 28 U.S.C. §§ 1391(b) and (c) because The Collection is deemed to reside in any

 judicial district in which it is subject to the court’s personal jurisdiction, and because The Collection

 provides and markets its goods within this district thereby establishing sufficient contacts to subject it

 to personal jurisdiction. Further, The Collection’s tortious conduct against Plaintiff occurred within this

 district and, on information and belief, The Collection has sent the same text messages complained of

 by Plaintiff to other individuals within this judicial district, subjecting The Collection to jurisdiction

 here.




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                                                PARTIES

         8.           Plaintiff is a natural person who, at all times relevant to this action, was a resident

 of Miami-Dade County, Florida.

         9.           Defendant The Collection LLC is a Florida limited liability company with its

 principal place of business located at 200 Bird Road, Coral Gables, FL 33146. The Collection directs,

 markets, and provides its business activities throughout the State of Florida.

                                               THE TCPA

         10.          The TCPA prohibits: (1) any person from calling a cellular telephone number; (2)

 using an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47

 U.S.C. § 227(b)(1)(A).

         11.          The TCPA defines an “automatic telephone dialing system” (“ATDS”) as

 “equipment that has the capacity - (A) to store or produce telephone numbers to be called, using a

 random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

         12.          The TCPA exists to prevent communications like the ones described within this

 Complaint. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

         13.          In an action under the TCPA, a plaintiff must show only that the defendant “called

 a number assigned to a cellular telephone service using an automatic dialing system or prerecorded

 voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

 F.3d 1265 (11th Cir. 2014).

         14.          The Federal Communications Commission (“FCC”) is empowered to issue rules

 and regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the

 TCPA are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

 nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and



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 inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

 they pay in advance or after the minutes are used.

         15.          In 2012, the FCC issued an order further restricting automated telemarketing calls,

 requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

 & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (F.C.C.

 2012) (emphasis supplied).

         16.          To obtain express written consent for telemarketing calls, a defendant must

 establish that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and

 conspicuous disclosure’ of the consequences of providing the requested consent….and [the plaintiff]

 having received this information, agrees unambiguously to receive such calls at a telephone number the

 [plaintiff] designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

 27 F.C.C.R. at 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71.

         17.          The TCPA regulations promulgated by the FCC define “telemarketing” as “the

 initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

 investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

 communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

 communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

         18.          “Neither the TCPA nor its implementing regulations ‘require an explicit mention

 of a good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

 Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

         19.          “‘Telemarketing’ occurs when the context of a call indicates that it was initiated

 and transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d

 at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations



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 Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C.R. at 14098 ¶ 141).

         20.          The FCC has explained that calls motivated in part by the intent to sell property,

 goods, or services are considered telemarketing under the TCPA. See In re Rules and Regulations

 Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C.R. 14014, ¶¶ 139-142 (F.C.C.

 2003). This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods,

 or services during the call or in the future. Id.

         21.          In other words, offers “that are part of an overall marketing campaign to sell

 property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

 Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C.R. at 14014, ¶

 136.

         22.          If a call is not deemed telemarketing, a defendant must nevertheless demonstrate

 that it obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions

 Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C.R. 7961, 7991-92 (F.C.C. 2015) (requiring

 express consent “for non-telemarketing and non-advertising calls”).

         23.          Further, the FCC has issued rulings and clarified that consumers are entitled to the

 same consent-based protections for text messages as they are for calls to wireless numbers. See

 Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that

 a text message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

         24.          As recently held by the United States Court of Appeals for the Ninth Circuit:

 “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

 the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

 additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.

 14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

 Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).


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                                               FACTS

        25.          On December 12, 2017 at 10:49 a.m., The Collection, using an automated text-

 messaging platform, caused a text message to be transmitted to Plaintiff’s cellular telephone number

 ending in 4965 (the “4965 Number”):




        26.          The link contained in the text message is a link to The Collection’s Facebook page,

 which includes posts setting forth the terms of the promotions being marketed by The Collection:




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             27.     The text message constitutes telemarketing because it encouraged the purchase of

 vehicles pursuant to the promotions identified on The Collection’s Facebook page.

             28.     Plaintiff received the subject text messages within this judicial district and,

 therefore, The Collection’s violation of the TCPA occurred within this district. Upon information and

 belief, The Collection caused other text messages to be sent to individuals residing within this judicial

 district.

             29.     At no point in time did Plaintiff provide The Collection with his express written

 consent to be contacted by text using an ATDS.

             30.     Plaintiff is the subscriber and sole user of the 4965 Number, and is financially

 responsible for phone service to the 4965 Number.

             31.     The impersonal and generic nature of the text message demonstrates that The

 Collection utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-

 cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016)(“the generic,

 impersonal nature of the text message advertisements”) (citing Legg v. Voice Media Grp., Inc., 20 F.

 Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer text messages were sent

 using ATDS; use of a short code and volume of mass messaging alleged would be impractical without

 use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010) (finding it

 “plausible” that defendants used an ATDS where messages were advertisements written in an

 impersonal manner); Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS

 72725 at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be impracticable without

 use of an ATDS).

             32.     Specifically, upon information and belief, The Collection utilized a combination of

 hardware and software systems to send the text messages at issue in this case. The systems utilized by



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 The Collection have the current capacity or present ability to generate or store random or sequential

 numbers or to dial sequentially or randomly at the time the call is made, and to dial such numbers, en

 masse, in an automated fashion without human intervention.

         33.          The Collection’s unsolicited text message caused Plaintiff actual harm, including

 invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. The

 Collection’s text messages also inconvenienced Plaintiff and caused disruption to his daily life. See

 Patriotic Veterans, Inc. v. Zoeller, No. 16-2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3, 2017) (“Every

 call uses some of the phone owner’s time and mental energy, both of which are precious.”).

                                        CLASS ALLEGATIONS

               PROPOSED CLASS

         34.          Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf

 of himself and all others similarly situated.

         35.          Plaintiff brings this case on behalf of a Class defined as follows:

                      All persons within the United States who, within the four
                      years prior to the filing of this Complaint, were sent a text
                      message to their cellular telephone number by The
                      Collection, or anyone on the Collection’s behalf, using an
                      automatic telephone dialing system, without emergency
                      purpose and without the recipient’s prior express consent.

         36.          The Collection and its employees or agents are excluded from the Class. Plaintiff

 does not know the number of members in the Class, but believes the Class members number in the

 several thousands, if not more.

            NUMEROSITY

         37.          Upon information and belief, The Collection placed automated calls to cellular

 telephone numbers belonging to thousands of consumers throughout the United States without their

 prior express consent. The members of the Class, therefore, are believed to be so numerous that joinder

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 of all members is impracticable.

         38.         The exact number and identities of the Class members are unknown at this time

 and can be ascertained only through discovery. Identification of the Class members is a matter capable

 of ministerial determination from The Collection’s call records.

               COMMON QUESTIONS OF LAW AND FACT

         39.         There are numerous questions of law and fact common to the Class which

 predominate over any questions affecting only individual members of the Class. Among the questions

 of law and fact common to the Class are:

                     (1) Whether The Collection made non-emergency calls to Plaintiff’s and Class

                         members’ cellular telephones using an ATDS;

                     (2) Whether The Collection can meet its burden of showing that it obtained prior

                         express written consent to make such calls;

                     (3) Whether The Collection’s conduct was knowing and willful;

                     (4) Whether The Collection is liable for damages, and the amount of such damages;

                         and

                     (5) Whether The Collection should be enjoined from such conduct in the future.

         40.         The common questions in this case are capable of having common answers. If

 Plaintiff’s claim that The Collection transmitted text messages to telephone numbers assigned to cellular

 telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

 being efficiently adjudicated and administered in this case.

               TYPICALITY

         41.          Plaintiff’s claims are typical of the claims of the Class members, as they are all

 based on the same factual and legal theories.



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                  PROTECTING THE INTERESTS OF THE CLASS MEMBERS

            42.         Plaintiff is a representative who will fully and adequately assert and protect the

  interests of the Class, and has retained competent counsel.

                  PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

            43.         A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from The Collection’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

            44.         The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for The Collection. For

  example, one court might enjoin The Collection from performing the challenged acts, whereas another

  may not. Additionally, individual actions may be dispositive of the interests of the Class, although

  certain class members are not parties to such actions.

                                                COUNT I
                               Violations of the TCPA, 47 U.S.C. § 227(b)

            45.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            46.     It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any




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  automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

  service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

         47.     “Automatic telephone dialing system” refers to any equipment that has the

  “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

  07-61822, 2009 WL 2365637, at *4 (S.D. Fla. June 9, 2009) (citing FCC, In re: Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

  International for Clarification and Declaratory Ruling, 07–232, ¶ 12, n.23 (2007)).

         48.     The Collection – or third parties directed by The Collection – used equipment

  having the capacity to dial numbers without human intervention to make non-emergency telephone

  calls to the cellular telephones of Plaintiff and the other members of the Class.

         49.     These calls were made without regard to whether The Collection had first obtained

  express permission from the called party to make such calls. In fact, The Collection did not have

  prior express consent to call the cell phones of Plaintiff and the other members of the putative

  Class when its calls were made.

         50.     The Collection has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

  Plaintiff and the other members of the putative Class without their prior express consent.

         51.     As a result of The Collection’s conduct and pursuant to § 227(b)(3) of the TCPA,

  Plaintiff and the other members of the putative Class were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

  injunction against future calls.




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                                              COUNT II
                    Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)

            52.       Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            53.      At all times relevant, The Collection knew or should have known that its conduct

  as alleged herein violated the TCPA.

            54.      The Collection knew that it did not have prior express consent to send these text

  messages.

            55.      Because The Collection knew or should have known that Plaintiff and Class

  members had not given prior express consent to receive its autodialed calls, the Court should treble

  the amount of statutory damages available to Plaintiff and the other members of the putative Class

  pursuant to § 227(b)(3) of the TCPA.

            56.      As a result of The Collection’s violations, Plaintiff and the Class members are

  entitled to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to

  47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

            WHEREFORE, Plaintiff Michael Fridman, on behalf of himself and the other members

  of the Class, prays for the following relief:

                  a. A declaration that The Collection’s practices described herein violate the

                     Telephone Consumer Protection Act, 47 U.S.C. § 227;

                  b. A declaration that The Collection’s violations of the Telephone Consumer

                     Protection Act, 47 U.S.C. § 227, were willful and knowing;

                  c. An injunction prohibiting The Collection from using an automatic telephone dialing

                     system to call and text message telephone numbers assigned to cellular telephones

                     without the prior express consent of the called party;


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              d. An award of actual, statutory damages, and/or trebled statutory damages; and

              e. Such further and other relief the Court deems reasonable and just.

                                            JURY DEMAND

           Plaintiff and Class members hereby demand a trial by jury.

                              DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that The Collection take affirmative steps to preserve all records, lists,

  electronic databases or other itemization of telephone numbers associated with the communication or

  transmittal of the text messages as alleged herein.

          Dated: January 29, 2018

                                                  Respectfully submitted,

                                                  /s/ Avi R. Kaufman
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